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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

x
BETTY, INC.,
Plaintiff,
Vv.
PEPSICO, INC., :
Defendant. :
x

 

Case No. 16-CV-4215 (VB)

PLAINTIFF BETTY, INC’S MEMORANDUM OE LAW IN OPPOSITION TO
DEFENDANT PEPSICO’S MOTION FOR SUMMARY JUDGMENT

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PRELIMINARY STATEMENT

Defendant PepsiCo., Inc.’s (“PepsiCo”)! motion for summary judgment rests on the same
legal propositions the Court rejected with the motions to dismiss. While the standard of review is,
of course, different now, discovery has revealed a level of evidentiary support for the copyright
infringement and breach of contract claims even gteater than what Betty originally suspected.

PepsiCo has spent many millions of dollars to foster and shroud the public image of its PEPST
brand as the manifestation of joy. However, behind the brown carbonated bubbles, the employees
and agents working on PepsiCo’s brand teams routinely opetate with the attitude and approach of a
bully seeking to use the enormous financial and other resources at its ready disposal to take unfait
advantage of its potential vendors. What is certain from the evidence elicited in this case is that
PepsiCo has not lived up to industry convention and legal responsibilities, let alone to “the highest
standatds of ethics and integrity” proclaimed by its Global Code of Conduct
(www.pepsico.com/about/global-code-of-conduct), Betty’s causes of action are the product of (a)
the negative consequences resulting from the way PepsiCo fell short of its expressed values and (b)
Betty’s decision to finally take a stand against PepstCo’s way of treating its advertising agency
vendots, because the misappropriation here was not the first time it had been victimized by PepsiCo
infringement of its rights.

This case stems from the chance of a lifetime PepsiCo gave to Betty, a boutique Connecticut
advertising agency. Betty seized that chance by creating an innovative, fun, joyful and ownable
advertising concept. ‘Io be clear, PepsiCo had no obligation to react favorably to Betty’s concept

not was it obliged to pursue the making of a commercial based on and specifically incorporating

 

1 Plaintiff Betty, Inc. (“Betty”) will respect the name convention PepsiCo witnesses preferred, which is to call
the company “PepsiCo” in order to distinguish it from the name of its PEPSI brand product. It is unclear
why PepsiCo did not follow that convention in its own moving papers. For the convenience of the Court,
Betty will use the citation to evidence practice PepsiCo adopted by citing to the Betty Response to Statement
of Undisputed Facts (“BRSP”) and, whenever possible, to the exhibits already in the record.
 

 

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Betty’s creative work product. The decision about what spot to air during the 2016 Supet Bowl was
exclusively reserved for PepsiCo to make according to its discretion and what it believed would best
tesonate with its targeted consumers. But, PepsiCo was not at libetty to use Betty’s creative work
without first negotiating the terms for its use with Betty, and paying Betty for the rights desited; yet,
this is exactly what happened. It is natural and understandable for witnesses to suffer from
imperfect memories about minor details of their activities and observations, but that excuse cannot
explain PepsiCo’s inability to provide a coherent and supportable natrative regarding the creation of
the subject commercial and of its interactions with Betty. ‘The logical conclusion is that, at
minimum, PepsiCo tealizes it used Betty’s creative work to drastically change, or to use the word in
the record, “elevate” the work of ‘The Marketing Arm (“YMA”) by making it substantial similar to
what Betty had already presented -- and that it did so without first taking the legal steps required by
the Copyright Act and by the patties’ contract to gain permission and tights for such use.

The primary value advertising agencies bring to their clients lies in the ability to conjute
interesting storylines and unique and imaginative ways for portraying a product, communicating a
message, and using and assembling such things as music, dance, costumes, talent, visual images, shot
angles and props to establish a memorable, impactful flow of scene in a 60, 30 or 15 second spot.
Determining there is nothing protectable or of compensable value in creative work simply because it
includes basic elements like music, dance and wardrobe changes that can be isolated into separate
components would be tantamount to undermining an entire industry as PepsiCo urges is, as Judge
Karas previously acknowledged, not supported by law.

Substantial evidence undercuts any notion that the competition to win this assignment took
place on an even playing field. While there is nothing legally improper about PepsiCo favoring one
of more agencies, it precludes summary judgment because there is sufficient proof to conclude that

PepsiCo allowed TMA to benefit from having various details of Betty’s creative work shated with it.
 

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It may be that TMA did not know that the feedback and suggestions it received from PepsiCo had
- been detived from Betty’s work; therefore, the mete fact that TMA professes that it created the
wotk and was unaware of Betty’s does not provide a basis for discounting a finding of copying.
TMA was provided with inputs and refinements throughout the entire development process that
had the effect of evolving its “originally presented” story line to a point of substantial sumilatity with
Betty’s presented creative work. There were far more than what TMA calls “standard executional
adjustments” from the initial concept to the final product; the final commercial was not at all a
natural extension of the orginal concept TMA developed and pitched. The significant inputs and
refinements were not made in a vacuum but instead resulted from the specific direction provided by
PepsiCo employees and agents who received Betty’s in-person and written presentation.

STATEMENT OF FACTS

 

A. Betty is a Boutique Connecticut Advertising Agency that Formed a Working
and Contractual Relationship With PepsiCo.

 

Betty became introduced to PepsiCo because Barty Rosen, the principal of an agency named
Direct Focus, Inc., saw work Al Pascatelli, IIT, Betty’s Chief Creative Officer (“AI’)’, did for another
Betty client. BRSF 988. Rosen has had a decades long relationship with PepsiCo and he has been
intimately involved in numerous substantial campaigns for its brands (including PEPSI). BRSF 489.
The role Rosen plays with PepsiCo commetcials spans from managing the creative ptesentation
process to providing input to concept selection decisions to working with PepsiCo in creating and
teftning story boards to directing the technical production of a commercial. Rosen teached out to
Al to invite him to work on a project for PepsiCo’s MOUNTAIN DEW brand in 2014. BRSF 91.

PepsiCo requires advertising agencies wanting to do business with it to enter into a Creative

Agency Services Agreement with its affiliate Pepsi-Cola Advertising & Marketing, Inc. (“PCAM”).

 

2 Because Betty is a family business with its key employees sharing the same last name, they will be defined
and referenced by their first names.
 
 

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BRSF 492. Therefore, Betty and PCAM made such an agreement dated as of November 11, 2014
(“the Agreement”). BRSF 993. The Agreement serves as a master or umbrella agreement providing
the framework for specific projects the parties undertake. As one would expect, the contract is very
one-sided with the respective obligations it sets. The Agreement did not require PepsiCo to work
with Betty as the telationship was non-exclusive and PepsiCo maintained the right, in its sole
discretion, to enter into engagements or to decide not to enter into engagements with Betty. BRSF
496. The consideration Betty reccived in return was significant — the opportunity to secure a Scope
of Work (“SOW”) commitment if and whenever PepsiCo wanted to use Betty’s creative efforts on a
project. BRSFY100. With a SOW and payment of the negotiated fee, PCAM would then own all
tights to the produced creatives. The corollary is that no transfer of rights would occur in the
absence of the SOW that the Agreement contemplated and mandated. BRSF 4101.

‘The parties first used the Agreement for a MOUNTAIN DEW brand project. BRSF 4/102.
As it mandated, PepsiCo and Betty made a SOW to define the scope and fee for the assignment. By
taking the SOW related to the two commercials Betty created and paying the negotiated fee,
PepsiCo acquired all rights, title and interest (including copyright rights) to Betty’s work in
connection with the project. Betty then worked on a project for the PEPSI MAX brand and once
again, in May 2015, the parties made SOWs. BRSF 4102. With Betty’s cteative efforts, two
commercial spots were made and aired; PepsiCo owns all tights to Betty’s work product for those

projects because it paid the negotiated fee.

B. PepsiCo Stole and Produced Betty’s Script for a LIPTON Sparkling Iced Tea

Spot.
Not all of Betty’s interactions with PepsiCo were pleasant. In retrospect, one reptesented a
hatbinger of things to come as PepsiCo simply took, produced and used Betty’s work product

without making a SOW, without permission and without the payment of any compensation. At

 
   

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PepsiCo’s request, Al pitched a script for a commercial for the LIPTON Sparkling Iced Tea brand.
The pitch was very well received yet the brand team suddenly stopped all contact and discussion
with Betty. Several months later, by happenstance based on an Internet search, Betty discovered
that PepsiCo had taken and used the script to produce an online commercial. BRSFYL04.

When confronted about the theft, Rosen expressed disgust and agreed Al had every right to be
upset. BRSF 4105. Through Rosen, PepsiCo offered a fee which Betty felt it had no choice but to
accept (As Rosen put it, Betty could either accept the proposed fee or sue and never work for
PepsiCo again). Worse still, Rosen claimed he wanted Betty to create new material for the LIPTON
brand, but the brand manager, Melanie Watts, had after the incident become hostile to Betty because
she had been caught ted-handed using the prior sctipt without paying for it. Allegedly as a result of
Watts’ attitude, Rosen “suggested” Betty team up with Rosen’s daughter and ghostwrite creative
concepts, which then would be submitted to the LIPTON brand team under her name. ‘The fees
received relating to these projects would be shared (not equally but in favor of Rosen’s daughter).
This ’suggestion” by Rosen was actually ptesented by Rosen as a threat that if Betty did not follow
his “suggested” path, he would use his considerable influence and authority to ensure that Betty
would never again have the opportunity to work on PepsiCo matters. BRSF 106. Despite this
stated consequence, ultimately, Betty declined Rosen’s “suggested” offer. BRSF4107.

Cc. Betty Continued to Work with Other PepsiCo Brands.

In February 2016, PepsiCo’s AMP brand managers advised Betty that it had won a
multiagency pitch to be the agency of record for a multi-million dollar campaign. BRSF 9108.
Unfortunately for Betty, those managers changed their minds (or were instructed to do so) and
decided to “go in a different direction” after Betty taised its issues with the PEPSI 2016 Super Bowl

commercial. Notwithstanding the change of direction, PepsiCo still attempted to purchase Betty’s
   

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ptesented work product for the AMP project, but for an abnormally low fee that Betty declined.
BRSF 7108.

Dd. In Late October 2015, PepsiCo Invited Betty to Pitch Creative Concepts for
the PEPSI 2016 Super Bowl Commetcial.

‘The importance of the Super Bowl to advertisers given the widescale attention it garnets from
football fans and non-football fans alike cannot be questioned. PepsiCo has long recognized the
advertising reach of the Super Bow] telecast and has worked hard to ensute it is regularly associated
with the event because it is believed to represent the center of a pop culture moment. BRSF 4/110.
To that end, PepsiCo has been the title sponsor of the extremely high-profile Super Bowl halftime
show, which features well-known musical entertainers, every yeat since June 2012. BRSF 4111.

Commercials are the product of a combination of inspiration and perspitation, that is, creative
exptession and hard work. The process often starts with the client prepating for the advertising
agencies a short writing, known as a Brief, to provide high-level guidance of what it wants to achieve
with the spot or campaign and any particular project specifications ot requirements. PepsiCo
initially solicited proposals for the Super Bowl spot in two different rounds of pitches from the
agencies it regularly used, but because the initial storylines or spot concepts did not test well,
PepsiCo prepared a Brief to solicit new creatives from othet agencies. BRSF 112.

On October 29, 2015, Arbetter instructed Jayanthi Reja Segatan (“Segaran”) to invite Betty
and some other agencies to join a telephone briefing the next day for the 2016 Super Bowl spot.
BRSF i14. Segaran was a director of NFL-related creative communications and marketing for the
PEPSI brand and the point person for developing the commercial PepsiCo would ait leading into
the halftime show of the 2016 Super Bowl. BRSF 4115. During the briefing of this group of
agencies, Segatan provided direction and a general outline of what PepsiCo wanted from the creative

presentations. Notably, TMA did not recetve the same e-mail invitation that was provided to Betty
 

 

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and TMA did not participate in Segatan’s telephone briefing for the participating agencies. BRSF
q116. Working under the tight deadline PepsiCo needed to impose because it was behind schedule,
Betty devoted its efforts to developing creative storylines for PepsiCo’s consideration. Betty
undertook those efforts based on the fact that the Agreement was in place to require that a SOW
would be negotiated, and entered into if PepsiCo ultimately wanted to move forward with producing
and acquiting tights to a Betty presented advertising storyline

KE. Betty Presented Its “All Kinds/Living Jukebox” Creative to PepsiCo
Employees and Agents During the Morning of November 6, 2015.

Betty met with the PepsiCo team (employees and agents) during the morning of Friday
November 6, 2015 at PepsiCo’s offices. BRSF $119. Al and his brother Justin attended the meeting
fot Betty. Al presented eight (8) separate storyline concepts in detail and distributed Betty-branded USB
drives containing summary printed material so that tt could be easily accessed by PepsiCo’s representatives for later
review, BRSF $121. Hence, the work product Betty presented consisted of both the written
presentation material Betty later registered with the U.S. Copyright Office’ and a detailed verbal
description and articulation of the proposed storylines, including the “All Kinds / Living Jukebox”
creative and numerous potential variations of it. BRSFY122.

Because he believed it to be his strongest storyline proposal, Al started his presentation by
pitching the “All Kinds/Living Jukebox” concept, and he spent the most time on it. BRST 4123.
As he described it, consistent with the fact that this concept had two names, “All Kinds/Living
Jukebox” set forth two related but distinct concepts that shared the same execution mechanic.
BRSF 4124. In a nutshell, the commercial would feature a single “hero character” (performer)
moving from toom to room; as the character passed into each new toom, the doorway would be

used to act as the precipice or agent of change for a completely new vibe (which included music

 

3 Betty obtained a copyright registration effective May 18, 2016 issued by the U.S. Copyrights Office
(Registration No. TXu 1-993-773). BRSF 943.
 

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gente changes, wardrobe changes of both the hero and the background characters, dance style
changes, prop changes and set design changes — which would all be reflective and consistent with
the new music). The overarching thematic ts that the ad would be stitched together to appear as one
continuous seamless shot. As an example, the hero character walks through the door of one room
wearing one outfit and emerges into the adjoining room im an entirely new outfit reflective of a
different music genre. The secondary characters from the previous room would now be depicted in
the new room also with new wardrobe, along with new action and props reflective of the new music.
BRSF 9124. With the All Kinds interpretation, a single song, PepsiCo’s Joy of Cola, would be used
throughout but with different musical genre/style mixes to it, one new genre/style per new room,
picking up exactly where the last version left off. BRSFY125. With the Living Jukebox
interpretation, multiple songs would be used rather than just the Joy of Cola, thereby reflecting the
notion of a jukebox springing to life as the hero and background performers perform to a different
song (as a jukebox plays different songs) in each room. BRSF 4126. Significantly, PepsiCo ended
up producing both a Joy of Cola genre mashup only version as well as the Super Bowl aired multiple
song version - - thus, PepsiCo actually produced both versions of Betty’s presented All Kinds /
Living Jukebox creative. BRSE 9127, 165.

PepsiCo’s witnesses were unable to testify about the contents of Betty’s presentation. BRSF
7129. Therefore, the descriptions Al and Justin gave of the presentation meeting and the Betty
presentation itself cannot be credibly challenged. ‘The Betty concept specifically contemplated
flexibility, labelled “Considerables” in the deck, because experience taught Al that changes and

concept refinement typically occur during the production process. + APs approach to concepting ts

 

+ As much as PepsiCo tries in its motion to hinge the Betty concept to the specific examples cited in the
pitch deck, Al emphasized during his presentation that his creative did not depend on the specific types of
music listed (rock, tap, jazz/swing, classical) or on the initial scene taking place outside a warehouse facility
(“Doesn't have to be a walkthrough of the warchouse.”}. BRSF 9130.
   

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that it is more beneficial to, and appreciated by, the chent, to present storylines that are not
pigeonholed at the outset to require a particular celebrity, song, or style. BRSF §130.

Client representatives are typically instructed to remain poket-faced duting competitive agency
presentations. Notwithstanding that mindset, the PepsiCo team reacted favorably to Betty’s work
during Al’s ptesentation, BRSF 4131. Indeed, after Betty completed its November 6, 2015
presentation, Rosen promptly came out of the conference room and followed the Pascarellis down
the hallway to congratulate them on the pitch and to suggest that they soon meet with him for
dinner. BRSF ¥131. Itis fair to surmise that Rosen wanted to clear the air from the “ghostwrite for
my daughter” episode because he realized there was a strong likelihood of PepsiCo awarding the
project to Betty and that he might have to work with Betty on production of the Supet Bowl spot.*

Segatan contacted Al that evening to request that refinements be made to two of the presented
storylines and that the refinements be submitted by 9:00 a.m. on Monday November 9, 2015. BRSF
4134. Al devoted the weekend to making the refinements (putsuant to a separate understanding that
Betty would be paid $5000 solely for the refinement services and not fot any ownership rights} in
time to meet PepsiCo’s Monday morning deadline. BRSF 135.

Nearly one month later, PepsiCo thanked Betty for its efforts but advised that it had decided
ona different approach for the Super Bowl commercial and, therefore, would not be using any of
Betty’s storylines. BRSF (136. Based on that representation, there was no reason for an SOW to be
entered into which would license ot assign Betty’s Super Bowl work product to PepsiCo in
consideration for fair market value compensation. ‘Thus, all rights associated with Betty’s creations,

inchiding the presented All Kinds / Living Jukebox storyline, remained Betty’s propetty.

 

5 When Rosen did mect the Pascarellis for dinner, he apologized for the ghost-writing threat and he
acknowledged that Betty was right to have consideted it to be a form of blackmail. BRSF 9132-33.
   

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EF. The Authenticity of TMA’s Pitch Deck is Suspicious and in any Event
Distinct from the Super Bowl Commercial; PepsiCo Shared Inside
Information With TMA to Improve TMA’s Work and ‘The Changes Made to

the “Original Concept” Made the Commercial Substantially Similar to Betty’s

Creative.

 

PepsiCo claims that the Super Bowl commercial it aired originated with and was developed by
TMA. The relationship between PepsiCo and TMA is a long and close one; in fact, TMA originated
within PepsiCo before being spun out as a separate entity years ago. BRSF 4138. Brad Groves of
TMA often works out of the PepsiCo offices, where he tends to the PepsiCo - TMA relationship.
BRSF 139. ‘The disingenuous spin PepsiCo weaves about the cteation of the Super Bowl
commercial is evident from the start of its litigation narrative and the misleading statement that
Betty pitched its creative ideas to the PepsiCo team “within hours of The Marketing Arm delivering
its pitch.” That phraseclogy is plainly designed to imply that the TMA presentation preceded Betty’s
when there is no question that, in fact, the opposite was true. BRSF 9140. What is telling (and
disturbing) about the PepsiCo approach is that nowhere in its voluminous moving papers is the
acknowledgement that Betty delivered its “All Kind/Living Jukebox” pitch presentation orally and
in writing before TMA presented its “Joy of Dance” idea,

With the “Joy of Dance” slide deck produced by PepsiCo in discovery, TMA proposed to
have Christopher Walken dancing in different eras in a manner reminiscent of his “Fatboy Slim”
video — https://www.youtube.com/watchev=XO7z57gtZU8 — with the mechanical execution of
the commercial being that the camera will be “locked off and [as a] giant circulate set rotates left to
right as if on a giant “LAZY SUSAN.” BRSF 142. With that execution, the hero chatacter could
not change his appearance (satne as the Fatboy Slim video), and could not navigate anywhere. Any
scene changes would occut behind him as the set rotated — there would be no doorways used. ‘he
TMA slide deck repeatedly used the words “backdrop” and “totated” to imdicate that the hero

chatacter was intended to be stationary and to never himself navigate anywhere. BRSF 142. This

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is reinforced by the example IMA cited of Wes Anderson’s AT&T commetcial, where a stage is
rotating behind the main character, whose wardrobe does not change and who does not navigate
anywhere -- https://www.youtube.com/watch>v=fAtZbemAr4. This approach is vety different
from Betty’s proposal and very different from the actual Super Bowl spot. In the pitch, TMA
ptoposed several time era pieces and backdrops as the set rotated, stating that Walken would “crack
open an ice-cold Pepsi in a vintage glass bottle”, grab a “1960s-era Pepsi”, be handed a “1970s era
Pepsi bottle”, have a “1980s Pepsi machine” in the background and in the final scene take a long
refreshing drink from a “modern-day Pepsi.” BRSF 4143.

PepsiCo professes to take precautionary steps to safeguard against the possibility of one
agency learning about the presentations and creative expressions of others. ‘The idea of apptoptiate
protective measures is laudable and consistent with industry norms inasmuch as the creative output
of advertising agencies is theit sive gua non and if an agency’s creative work is shated with other
agencies, it can be misappropriated or otherwise taken without compensation resulting in no
profitable business model for the agency’s (or the advertising industty’s) sutvtval. Unfortunately, it
is apparent that any such PepsiCo guidelines exist as a matter of aspiration only and over the past
several yeats at least, have been routinely ignored in practice.

Some of the PepsiCo breaches of protective measures indicate a level of sloppiness, while
others are mote suggestive of a deliberate and sinister motive. For example, Jennifer Danzi, one of
the PepsiCo employees who attended the November 6, 2015 pitch presentations, testified that
PepsiCo employees are “trained to respect every agency’s materials” and that it is “standard practice
to tum a new page and write notes fresh so nobody can peek over and see what you’ve written
about a previous presentation.” BRSF 9144. In discovery, notwithstanding that several PepsiCo
employees and agents had attended the agency presentations, PepsiCo produced very few

documents indicating notes contemporaneously taken during the meetings. The notes specifically

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taken by Segaran of cach presentation were not made on sepatate pages as Danzi had stated. BRSF
9145. Segaran’s notes about “All Kinds/Living Jukebox” recite as highlights that there would be a
“musical mash up of Joy of Pepst’, “all sorts of musical genres” and that it would be “continuous”
(her notes reinforce that Al did not just read off the pitch deck when he presented).

PepsiCo’s witnesses testified that representatives of one agency are not allowed to heat or see
the presentation of another. BRSF 9147. However, TMA was so concerned about PepsiCo’s
practices that Tom Meyer of TMA specifically asked one of his November 2015 pitch meeting
attendees to let him know who was in the toom because he knew an agency previously had been
allowed by PepsiCo representatives to. hear and evaluate the creative efforts of other agencies
fincluding 'TMA): “Motive both pitched ideas and got to stt in on everyone’s presentations. Totally
fed up. Also Matti Leshem was sitting next to Lou. Terrible.” BRSF 4148.

After the PepsiCo group met to compate notes from the November, 2015 presentations,
Segatan e-mailed TMA that the Joy of Dance concept was a “cool idea” but that it was “too long
and complicated” so ‘IMA should work on refining it. On Monday morning (November 9), Segatan
expressed the hope that TMA’s creative director (Marc Gilbar) had been able to connect with
Arbetter over the weekend regarding revisions to the spot. BRSF 150. TMA submitted a revised
slide (BRSE 4151) indicating the use of a jukebox (consistent with Betty’s “Living Jukebox” concept)
and, for the first time, the use of doorways to bring the heto character (now proposed to be
Pharrell) from room to room (also like Betty’s presented concept}. At this poimt, the TMA Joy of
Dance concept still did not utilize a continuous shot, still used different background performers in
each scene and still venued one scene in a dark, wet alley (hardly conveying joy). BRSF 4/151.

Later that same day, Segatan e-mailed that PepsiCo wanted “[i]n each section, we would show
the Pepsi Bottle and logo during its ime.” BRSF 9152. For TMA, Gilbar responded “love that

idea, we gotta do this.’ BRSF 4152. ‘These e-mails on November 9, 2015 raises substantial

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questions about the authenticity of the produced TMA deck that PepsiCo asserts is, and relics upon
as being, in its originally presented form. If the idea of using different exa-specific props were
already supposedly a part of IMA’s Joy of Dance concept proposal on November 6, 2015, there
would bave been no need or reason for Segaran to introduce that concept by email days later and
have Gilbar treat it like a new idea. BRSFY153.

Even more dramatic proof of what appears to be the time-ttavelling TMA pitch deck is an e-
mail Arbetter sent to Segaran on November 15, 2015 in which he complained that the Joy of Dance
concept as existing as of that date lacked an active tole for the brand and did not have some kind of
twist or clever wink at the end. BRS 4j153. The ending of the spot (which Segaran did not note in
her notes (BRSF9153)) had supposedly been the factor of the Joy of Dance storyline TMA originally
presented on November 6, 2015 that PepsiCo loved — Arbettex described it as a “really clever and
important device” that “popped.” BRSF 9153. If that ending had been a part of the originally
presented TMA concept, there would have been no basis for the Arbetter emails telating to the need
for a clever wink at the end, an entire week later. The only logical conclusion one can reach based
on these cmails is that the TMA pitch deck produced by PepsiCo was not the pitch deck as it was
presented on November 6, 2015. To the degree that PepsiCo representatives have expressed that
the elements that wete outlined in PepsiCo’s later emails wete the basis for selecting the Joy of
Dance storyline in the first place, a legitimate competitive bid process is totally undermined and
PepsiCo’s misconduct in the context of the 2016 Super Bowl pitch process is confirmed.

Since PepsiCo. needed to embark on the new round of collecting creatives, there was anxiety
from its seniot matketing management about the status of the commercial development. As Seth
Kaufman, the PepsiCo executive who needed to give sign-off for the spot, stated before the
ptesentations, the Super Bowl commercial represented his “highest level of atrxiety.” BRSF 154.

That anxiety natutally caused the need-for the concept selection, refinements and. development to

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run at an accelerated pace. The e-mails between PepsiCo and ‘TMA and internally within TMA
indicate that TMA was having off-line “inside scoop” conversations with Rosen and that Rosen was
giving “preat” feedback that would “really elevate the spot.” BRSF 155. While he tried to discount
his own role, the PepsiCo witnesses credited Rosen (and his partner Neil Goldberg) with being an
important part of the concept selection task. BRSF 156. The “questtonable” sharing of
information with TMA by PepsiCo representatives clearly began even before the November 6, 2016
pitch date. Although during the October 30, 2015 briefing conference call, Segaran indicated that
PepsiCo did not know and could not reveal the theme of the halftime show to the agencies (BRSF
4]158), an internal TMA e-mail on November 2, 2015 somehow indicated “[t]he Theme for the
Halftime show is the History of Music — a celebration of the past and present in music.” BRSF
4/158. The totality of the evidence 1s certainly sufficient to support the conclusion that PepsiCo and

its agents were sharing confidential information with TMA.

G. The Super Bowl Commercial Copies and is Substantially Similar to Betty’s
“All Kinds/Living Jukebox” Storyline

To Betty’s great surprise, the Super Bow] commercial PepsiCo aired did not reflect a different
apptoach than the “All Kinds / Living Jukebox” storyline Betty had created and presented. Instead,
Betty immediately recognized that PepsiCo had utilized the exact “AJl Kinds/Living Jukebox”
concept and storyline: the spot uses a heto character (Janelle Monae) in the commercial and, as she
moved from room to room, the music gente, fashion, clothes and vibe of the room changed -- with
the doorways acting as the agent of change to give the appeatance of one continuous seamless shot.
The spot opens on a jukebox and closes on a light around the logo to emulate a record spinning as uf
it all took place on a spinning tecord (4e., a living jakebos).

After airing the commercial during the Super Bowl, PepsiCo re-broadcast the Super Bowl

commercial (and sevetal variation of it) nationally on both television and on the Internet many

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thousands of times. The spots have been viewed literally hundreds of millions of times across
numerous platforms. As noted above, when PepsiCo produced the Super Bowl commercial, it also
created a second version using exclusively the well-known “Joy of Cola” song in different musical
styles. BRSF (162. The PepsiCo plan was to use the second version for the remainder of the year,
after the expiration of the short-term music licenses it had secured from Madonna and ‘The
Contours. BRSF 4163. The PepsiCo witnesses acknowledged the production of the second
commercial, but did not provide a copy of it or any details about the number or location of aitings

of it.

H. Betty Complained to PepsiCo About Its Use of Betty’s Creative Work and
PepsiCo Reacted By Trying to Cover Its Tracks, Including By Creating
a Phony Betty Invoice.

As soon as Betty reached out to PepsiCo after the Super Bowl to complain about the
misapptoptiation of its creative efforts, PepsiCo hastily tried to cover its tracks given its lack of
ownership of Betty’s work. While some of its actions are shielded by the attorney-client privilege,
the timeline of events is clear and reflects the unsctupulous behaviot by PepsiCo representatives,
now caught for a second time misappropriating Betty’s creative work:

December 28, 2015 (4:48 pm): — Betty submits formal estimate with a covet letter to Segatan
stating: “We ate happy to submit our estimate for the creative
concept development and the requested second tound of
refinements telated to the 2016 Super Bowl Ad. Pursuant to out
phone conversation Betty will retain all rights, title and interest in
its developed advertising concepts and ideas and im all variations
and or derivative of them.” The attached estitnate bore a banner
at the top of the page indicating “Work Estimate” and “Estimate
#1228.” Consistent with the cover letter, the Job Description
stated: “Creative concept development and second round
refinements telating to the 2016 Pepsi Super Bowl Ad.
Estimate includes for time only. Betty will retain all rights
title and interest in its developed concepts and ideas and in
all variations and derivatives of them.” (emphasis added)
BRS 9173.

February 7, 2016 Super Bowl 50 is played. PepsiCo commercial atts leading into
Halftime show. BRSF 9174.

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February 10, 2016
March 1, 2016 (4:48 pm)
Match 1, 2016

March 4, 2016 (2:01 pm)

Match 4, 2016 (7:05 pm)

Match 9, 2016 (9:37 am)

April 21, 2016

March/April 2016

Aptil 25, 2016

April 27, 2016

Betty issues demand letter to PepsiCo. BRSF 4175.
Segaran forwards Betty estimate to Danzi. BRSF 4176.
Danzi submits Betty estimate for payment). BRSP 177.

Danzi leatns that Betty is not set up as a PepsiCo vendor and is
requested to provide tax documentation. BRSI 178.

Danzi responds “Shoot” because she was told that Betty was
upset, considering htigation and that she could not contact Betty.
BRSF 4179.

Danzi is sent a follow up request regarding the tax paperwork
needed from Betty. BRSF 4180.

Segaran is included on privileged communications initiated by
Arbetter regarding threatened Betty Litigation. BRSP 4181.

Segatan instructs Danzi to pay Betty so Danzi creates fraudulent
Betty invoice by doctoring the header banner of the actual Betty
estimate. The actual PO did not issue until 3/8/16 (making it
impossible for the false invoice of 12/28/15 to be accurate). The
false invoice deleted the precautionary statement relating to
Betty’s retention of its ownership rights in its concepts and ideas,
and variations of them and forges Betty’s signatute to suggest
validity. Danzi also removes the statement at the bottom of the
actual Betty estimate that “[a]bove information is not an invoice
and only an estimate for the services that have been provided.”
BRSF 4182.

PepsiCo initiates $5000 ACH payment to Betty referencing the
Dani prepared phony invoice. Arguably, the $5,000 payment was
made in a deliberate effort to effect a transfet of intellectual
property tights in All Kinds/Living Jukebox to PepsiCo
inasmuch as it attached a purchase order titled “Betty SB Ad
Creative Concept” and General ‘Terms and Conditions which
included a section providing PepsiCo with “Ownership” of all
created intellectual property. The payment was made and
purchase order referenced without any SOW being entered into
under the Agreement. BRSF 7183.

Betty returns $5000 to PepsiCo to avoid any suggestion that tt
intended to transfer any intellectual property rights to “All
Kinds/Living Jukebox” to PepsiCo. BRSF 4184.

Thus, months after payment should have been made, and without initiating any proper SOW with

Betty, what PepsiCo did was forge a Betty invoice that it then used as a way to generate a putchase

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order with terms directly at odds with the Agreement (which specifically requires an SOW and a
delineation of intended Deliverables) and with Betty’s tepeated statements that it would retain all
rights to its creative efforts because no atrangement for their transfer had been made. This series of
events constitutes a clumsy and disingenuous effort by PepsiCo to cover its tracks after the fact and
after its unauthorized use of Betty’s creative expression had been identified and brought to
PepsiCo’s attention by Betty’s demand letter.

ARGUMENT

I. SUBSTANTIAL EVIDENCE DEMONSTRATES THAT PEPSICO
INFRINGED BETTY’S COPYRIGHT IN “ALL KINDS / LIVING JUKEBOX”.

This motion largely mirrors the failed motion to dismiss the copyright infringement claim.
Significantly, PepsiCo based the dismissal motion on not just the allegations of Betty’s complaint,
but also a DVD it submitted to Judge Karas containing the Super Bowl commercial as well as the
other commercials PepsiCo argues preclude a finding of uniqueness to Betty’s work. The Court

rejected PepsiCo’s reasoning.

A, “AN! Kinds / Living Jukebox” Qualifies For Copyright Protection.

1. It is Improper for PepsiCo to Dissect Betty’s Work Into Individual
Components to Argue that Such Components Are Not Protectable.

Copytight infringement exists when the ownet of a valid copyright proves unauthorized
copying. To establish infringement, a plaintiff must prove (1) ownership of a valid copyright and (2)
copying of constituent elements of the work that are original. Feist Pubéeations, Inc. v. Rural Telephone
Sernice Co., 499 U.S, 340, 361, 111 S.Ct. 1282 (1987). While Betty’s work was well-received because
of the creativity and punch of its expression of the idea, the law sets the requisite level of creativity

‘sufficient to qualify for copyright protection “extremely low; even a slight amount will suffice.”

Feist, 499 U.S. at 345, 111 S.Ct. at 1287. Betty’s copyxight registration constitutes prime facie evidence of

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Betty’s valid ownership of the copyright. Jorgensen v. Epic/ Sony Records, 351 F.3d 46, 51 @d Cir.
2003) (citing 17 U.S.C. §410c)). Hamil Am. Inc. ». GFT, 193 F.3d 92, 98 2d Cir. 1999).

-PepsiCo’s characterization of Betty’s work as generalized “ideas” and nothing more than a
compilation of genetic “scénes 4 faite” is wrong; attaching litigation labels is insufficient to catry the
burden PepsiCo bears with this motion. All creative work product for television commercials begins
with an idea and a theme. That the concept uses some scene elements that have been used before
does not make the expression unotiginal for copyright purposes. What is relevant is not that music,
dance, and a main performer with wardrobe changes have been used before, but the way Betty
selected, coordinated and attanged such elements. Axander v. Murdoch, 2011 U.S, Dist. LEXIS, *18
(S.D.N-Y. May 27, 2011)¢°A work may be copyrightable even though it ts entirely a compilation of
unprotectable elements’ so long as those elements ate artanged in an original manner.”) quoting
Kattwaves, Inc. v. Lollytags Ltd., 71 F.3d 996, 1003-04 (2d Cir, 1995). There is nothing standard about
the elements of a living human manifestation of a jukebox and certainly nothing so standard about it
that renders the mannet or way Betty expressed it unworthy of protection.

Any work of art ot expression can be broken into individual pieces. Al provided an exccllent
example of the principle: a lily pad is not protectable; a frog is not protectable and a ribbit is not
ptotectable. Putting those non-protectable elements together, however, and Budweiser created one
of advertising’s most iconic commercials. BRSF (167. As Judge Karas concluded, it is Betty’s
“unique combination of the elements comprising the “All Kinds / Living Jukebox” concept is
ptotectable.” Doc# 30 at 23 citing Kmitwaves, Inc. v. Well-Made Toy Mig. Corp., 25 F.3d 119, 1004 (2d
Cir, 1994). As the Second Circuit has instructed, “we have disavowed any notion that we are
requited to dissect the works into their separate components and compare only those elements
which arte in themselves copyrightable.” Peter P. Gaito Architecture, LLC v. Stone Dev. Corp., 602 F.3d

57, 66. (2d Cit. 2010); Horizon Comics Prods., Inc. v. Marvel Entm’t, LLC, 246 F. Supp. 3d 937, 941

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(S.D.N.Y. 2017) (“The [clourt must look beyond the works as dissected into theit separate
components, and must compare the contested work’s total concept and ovetall feel with that of the
allegedly infringed work, as instructed by our good eyes and common senses.” (alterations and

internal quotation marks omitted)).

2. The Other Commercials PepsiCo Describes Are Easily Distinguishable From
Betty’s Creative Work.

PepsiCo’s attorneys asked Al about the prior PEPSI commercials it argues make Betty’s work
unotiginal. His testimony, which is entitled to the same evidentiary value as the advertising affiants,
demonstrated how his work differed from those commercials. The Britney Spears “Now and Then”
commercial did not employ the device of one continuous shot in a changing environment, used
different cast members in each scene and created a distinct feel. BRSF [185. As for the “Bottle
Pass” spot, there was no hero character, the cast changes, it does not take place in a singular space,
and there was no change of music genres or wardrobes for each era depicted. BRST 186.

B. The Super Bowl Commercial Infringed “All Kinds Living Jukebox” B
Creating A Substantially Similar Copy Of It.

ce

Because the Super Bow! commercial (as well as the second Joy of Cola version) shares “a
similarity of expression” with “All Kinds/Living Jukebox”, summary judgment in favor of PepsiCo
is not watranted. Hogan v. DC Comics, 48 F.Supp.2d 298, 309 (S.D.N.Y. 1999). The second prong of
the inftingement test examines if the constituent elements of the original work were copied. Bazison
». Banian, Ltd., 273 F.3d 262, 267 (2d Cir. 2001). Proving that a defendant used the material created
by plaintiff is rarely done with an overt admission. Instead, what is needed is an examination of
circumstantial evidence and the two items of creative work. The appropriate starting pomt for
analysis here is the original “Joy of Dance” concept. ‘That concept was very dissimilar from the
commercial PepsiCo ultimately aited. As detailed above, the concept underwent radical changes

from its initial presentation and such changes all derived from what Betty had presented.

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The pivotal issue is whether there is a substantial similarity of protectable material in the two
works. Lewinson v. Henry Holt and Company, LLC, 659 P.Supp.2d 547, 562. (S.D.N-Y. 2009) ceting
Fisher-Price, Ine. v. WellMade Toy Mfe, Corp., 25 F.3d 119, 122-23 (2d Cir. 1994) and Tnjenkian
Import] Export Ventures, Inc. v. Hisnstein Moomjy, Inc. 338 F.3d 127, 131 2d Cir. 2003). A teview of the
works demonsttates “probative similarity” because “the works ate similar enough to support an
inference that the defendant copied the plaintiffs work ... [as there are similarities] that would not be
expected to arise if the works had been created independently.” Lewznson, 659 F.Supp.2d at 563.

There ate, to be sure, some differences between the Betty storyline and the Super Bowl
commercial (and its variations). Such differences are to be expected; as Al testified, refinements to
any creative storyline ate customary and usually occut throughout the production process. Indeed,
Betty provided some proposed ptoduction detail during its November 6 presentation. It is not
proper for the Coutt to dissect the works into their separate components for comparison purposes.
Peter F. Gatto Architecture, LLC ». Simone Development Corp,, 602 F.3d 57, 66 (2d Cir. 2010). Tt is the
total concept and feel that must be consideted. Haywk v. Starbucks Corp, 157 F.Supp.2d 285, 291
(S.D.N-Y, 2016). A finding of infringement does not requite the offending work to be identical to
ot a catbon copy of the original work in all respects. Walker ». Time Life Films, Inc. 784 F.2d 44, 49
(2d Cir. 1986). In this Circuit, substantial similatity is judged on the basis of an evaluation of the
spontaneous response of the ordinary lay observer. Warker, 784 F.2d at 51. If such an observer
would overlook any dissimilarity between the works and conclude that one was copied from the
other, there is infringement. Nihon Kerzai Shimbun, Inc. v. Contline Bus. Data, Inc, 166 F.3d 65, 70 2d
Cir. 1999). Here, as was the case with Judge Karas, an ordinary observer would be disposed to
overlook the differences and regard the aesthetic appeal as the same. Peter F. Gatto Architect, 602

F.2d at 66 quoting Yurman Design, Inc. v. PAY, Inc., 262 F.3d 101, 111 (2d Cir. 2004).

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If a work copies the original way in which the author has selected, coordinated, and arranged
those unprotectable elements to such an extent that the copying work is substantially similar to the
“expression of ideas” and “total concept and overall feel” of the copied work, there is infringement.
Williams v. A&eE Television Networks, 122 F.Supp.2d 157 (S.D.N.Y. 2015) quoting Castorina v. Spike
Cable Networks, Inc., 784 F.Supp.2d 107, 1141 (&.D.N-Y. 2011). In this case, an ordinary observer's
comparison of the two works shows at least the following significant similarities: (a) the viewet is
transported into a human jukebox, with seamless music changes and genre variety and the ability to
imagine a scene consistent with a created joyous feeling; (b) a single powerful character performs all
music renditions, gentes and fashion changes as she dances seamlessly from room to room; (c) evety
time the hero character enters a new room, the genre of music immediately changes to reflect a new
vibe; (d) the set design stylistically changes, along with the fashion /wardrobe of the cast, as the hero
chatacter moves from room to toom; (e) seamless wardtobe changes are used for the hero character
(f) the dance style changes along with the music genre as the hero character enters and exits each
room; (g) there ate clean, seamless cuts / camera shots; and (h) specifically reflecting one of the
ctitical clements of the “All Kinds/Living Jukebox” name, the Super Bowl commercial opens on the
direct focus of Betty’s main theme, a jukebox, and closes on a light circling the perimeter of “the
Pepsi Globe” to simulate and suggest a record spinning and that it all (dancing, performing, etc.)
took place on this record — a jukebox springing to life like a living jukebox. PepsiCo picks at some
of the differences but such differences do not change the overall sense that the Super Bowl
commercial is a copy of “All Kinds / Living Jukebox.” The substantial similarity between the
works, as they would be viewed by an ordinary observer (a question that is usually and appropriately

reserved for the ultimate factfinder should be determined by the jury.

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ll. THE AGREEMENT STATES MATERIAL TERMS AND IMPOSES A DUTY OF
GOOD FAITH AND FAIR DEALING ON PEPSICO TO ENTER INTO A SOW
WITH BETTY BEFORE IT USES ANY OF BETTY’S CREATIVE WORK.

A. PepsiCo’s Characterization of the Agreement __as__an__Unenforceable
“Aoreement to Agree” is Misplaced.

Preliminaty agreements can cteate binding obligations. Adjustrite Sys., Inc. v. GAB Servs., Ine.,
145 F.3d 543, 548 (2d Cir. 1998). ‘To make that determination, it is necessary to consider such
things as the intent revealed by the contract, the context of the negotiations and any partial
performance by one of the parties. Brow ». Cara, 420 F.3d 148, 153 (2d Cir. 2005); fT eachers Ins, @
Annuity Ass'n of Am. v. Tribune Co., 670 F.Supp. 498 (S.D.N-Y. 1997). ‘The exercise of making the
Service Agreement is not mandated to serve no purpose. Instead, it serves the important purpose of
setting the framework for the business relationship and is a valid contract with an exchange of
consideration. PepsiCo has not taken the position that the form agreement PCAM requires agencies
to sign is invalid or unenforceable. If PepsiCo can enforce it, so, too, can Betty.

The “agreement to agree” label PepsiCo favors, ironically for its own form conttact, seems
designed to deflect attention away from the material obligations imposed on it. The parties used it
on ptior occasions when PepsiCo wanted ownership of Betty’s work ptoduct. PepsiCo’s rchance on
RJ Roberts ¢» Co. v. MDC Partners Inc., 2014 U.S. Dist. LEXTS 34740 (S.D.N.Y. March 14, 2014), is
misplaced because the statute of frauds barred enforcement of the claimed contract as there was no
writing or group of writings encompassing all material terms of it. id. at *22. By contrast, it is
undeniable that an important and detailed writing exists here.

Danton Constr. Corp. v. Bonner, 571 N.Y.S.2d 299, 300, 173 A.D.2d 759 (App. Div. 2d Dep't
1991), is also inapplicable as it involved a situation where there was no contract obligating the parties
to negotiate the remaining terms in good faith if they wanted to consummate the benefits of the

deal. Instead, the subject option letter agreement expressly gave one patty the right to “reformat”

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the terms of the proposed contract and the patties were unable to reach agreement on the proposed
reformat. The coutt directed defendant to tetutn the consideration ptovided to him in anticipation
of contract consummation. No such remedy is available here. Similarly, the lease agreement in the
Joseph Martin, Jr. Delicatessen, Inc., v. Schumacher, 52 N.Y .2d 105, 436 N.¥.S.2d 247 (1981) case allowed
plaintiff to renew the agreement but on terms to be agreed upon but did not involve a situation by
which one patty could unilaterally take the benefit of the renewal as if an agreement had been made.
B. The Agreement Indicates the Material Obligation Imposed on PepsiCo to
Enter Into a Scope of Work with Betty Before Making Use of Betty’s Creative
Work Product.

The Agreement provides a sufficient indication of “a manifestation of mutual assent
sufficiently definite to assute that the parties are truly in agreement with respect to all material
terms.” Tractebel Energy Marketing, Inc., v. AEP Power Marketing, Inc., 487 F.3d 89, 95 (2d Cir. 2007).
While heavily tilted in PepsiCo’s favor, there is a mutuality of consideration. What Betty received is
cleat: if PepsiCo wanted to use Betty’s creative efforts, it was obliged to act in accord with the
contract to make a SOW before using the work. While the price PepsiCo would pay, and the exact
nature and timing of the Deliverables may have been left for future good faith discussion, the
material obligation PepsiCo accepted is that it would engage in those efforts before using Betty’s
work. By urging the Court to find thete was no contract related to Betty’s work because no SOW
was made, PepsiCo completely misses the fundamental point. PepsiCo breached the contract by not
exercising its best factually any) efforts to negotiate with Betty before using Betty’s work product.

PepsiCo’s duty to negotiate is manifest from New Yotk’s basic rules of contract interpretation,
which dictate the intention of the parties, that is, what they mutually assented to do, is to be drawn
from their language, interpreted in the light of their situation and the citcumstances connected with
the transaction. Innophos, Inc. v. Rhodia, S_A., 10 N-Y.3d 25, 29, 852 N.Y.S. 820 (2008); Law Debenture

Trust Co. of NY. ». Maverick ‘Tube Corp., 595 F.3d 458, 467 (2d Cir. 2010). “Under New York law, a

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written contract is to be interpreted so as to give effect to the intention of the patties as expressed in
the unequivocal language they have employed.” Tenwillinger v. Terwillinger, 206 F.3d 240, 245 (2d Cir.
2000); Am. Auto. Ins. Co. v. Rest Assured Alarm Sys, 786 F.Supp.2d 798, 804-05 (S.D.N-Y. 2011).

The contract words must be accorded their common, natural, and ordinary meaning and usage
where it can be sensibly applied. Albanese v. Consolidated Rail Corp., 666 N.Y.S.2d 680, 682, 245
A.D.2d 475, 476 (App. Div. 2d Dep’t 1997). By focusing only on what is not stated, PepsiCo fails to
heed the cardinal rule that meaning is to be given to evety contract term. God's Battalion of Prayer
Pentecostal Church, Inc. v. Miele Assocs. LIP, 6 N.Y.3d 371, 374 812 N-YS.2d 435, 437 (2006); Cacace v,
Meyer Mktg. (Macau Commer. Offshore) Co., Lid., 589 F.Supp.2d 314, 323 (S.D.N.Y. 2008)(citing cases).
In particular, PepsiCo does not addtess the significance of Section 7:

Ownership /Tradematks/Copytights Subject to PCAM’s payment of all amounts

owed for the Deliverables pursuant to the Scope of Work, PCAM shall own all

right, title, and interest in and to the Deliverables[.]
‘That language must have some meaning and the only plausible interpretation of it that is consistent
with the four corners of the parties’ agreement is that PepsiCo will meet certain obligations before it
will use Betty’s work. PepsiCo had freedom of contract discretion to not make a SOW with Betty
but only if it likewise did not pretend to own tights to the work it received from Betty.

Cc, Betty Sustained Damages as a Result of the PepsiCo Breach of Contract.

By being deprived of the recognition associated with being known as the creator of the
PepsiCo Super Bowl commercial, Betty sustained a loss of the fee tt would have earned pursuant to
the SOW that should have been negotiated (which would have included a percentage of production
costs) plus the opportunity losses. Evidence in the record of the SOWs Betty and PepsiCo entered
into for less high-profile projects as well as the SOW between PepsiCo and TMA all indicate the fee
element of Betty’s damages. BRSFY102-03. Had PepsiCo acted in accordance with the Agreement

and past practices, the fee would have been set after it ctther awarded the project to Betty or had

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confirmed to Betty that it wished to make commercial use of Betty’s presented storyline. In
addition, Betty would not have lost the opportunity to work with the other brands (MOUNTAIN
DEW, PEPSI MAX, AMP AND LIPTON) that were familiat with, and loved Betty’s work.
CONCLUSION
No option laid out by EMA achieves what it actually produced. In the putported TMA
presentation, there was only an option for Christopher Walken in front of a rotating stage; there was
no option for a hero character to navigate from room to toom and there was no option of using
doors as the agents of change. PepsiCo’s description of the ‘MA creative is a wishful combination
of what it would have liked for ‘IMA to have presented, but it is exactly the unique combination
Betty proposed: a combination of music changes, wardrobe changes, set design changes, dance
changes and vibe changes brought about by a heto chatacter passing through the precipice of a
doorway giving the appearance of one continuous shot in one continuous changing environment.
PepsiCo does nothing more than chop the elements into pieces — it does not point to any example
where all of these clements come together in the unique way presented with the Betty storyline.
The evidence in the record indicates: (a) PepsiCo has a recorded history of stealing from Betty;
(b) TMA trecetved the theme to the halftime show in advance, suggesting a PepsiCo intention to
“farm” information to TMA; (c) the authenticity of TMA’s original slide deck is doubtful, and
whatever the original TMA ptesented Joy of Dance storyline was, it was changed over the next
number of weeks to make it more reflective of Betty’s creative; (d) PepsiCo tried to covet its tracks
by creating a phony Betty invoice and making payment purportedly pursuant to terms other than
those set forth in the Agreement; and (e) the second commercial is akin to “All Kinds” and was
aired extensively. For all of the foregotng reasons, the PepsiCo motion fot summary judgment

should be denied in all respects.

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Dated: May 1, 2019
Respectfully submitted,

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CERTIFICATE OF SERVICE

Thereby certify that on May 1, 2019 a copy of the foregoing Plaintiffs Memorandum of Law in
Opposition to Motion for Summary Judgment is being filed electronically and served by mail on
anyone unable to accept electronic filing. Notice of this filing will be sent by e-mail to all patties by
operation of the court’s electronic filing system or by mail to anyone unable to accept electronic
filing as indicated on the Notice of Electronic filing. Parties may access this filing through the
Court’s CM/ECF System.

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